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                                               IN THE UNITED
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                                                                    ‘STATES COURT OF APPEALS
a                          2                               FOR THE FIFTH CIRCUIT \

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L‘                         4
                                                               Appeal No. 23-40032
7                          5                        —A—--A-—A



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                 ‘
                                                                 BRIAN CHANCEY,
                           8

,
                 ‘                                                Plaintzﬁ”—AppelIant,                ‘            '




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                 3                                                         v.
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                         ll
                                                               BASF CORPORATION                                ‘




:                        12                                     Defendant—Appellee.

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                         14                       On Appeal from the United States District Court
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'                    A   15
                                                   For the Southern District of Texas, Galveston
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                     [                                      Civil Action File: 3:22-cv—34
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                                                          APPELLANTS REPLY BRIEF
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             "
                                                        Brian Chancey, in Propria Persona
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                                                                3117EncinoAvmue

                         23                                  Bay City, Texas    77414


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                         Case: 23-40032    Document: 17         Page: 2   Date Filed: 04/19/2023




               1                 APPELLANT’S CERTIFICATE OF INTERESTED PERSONS

               2
                                        AND CORPORATE DISCLOSURE STATEMENT
                                                                                      .

               3


               4


                    ursuant to Federal Rule ofAppe11ate Procedure 16.1 and 5th Cir. R. 28.2.1, Appellan
               5


               6
                     rian Chaneey certifies that the following persons and entities are known to Appellan
                                                                                  I




                    o have an interest in the outcome of this
               7                                                case_or appeal:
                                                                                                   V




               a                                                                                       .




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               9    1.     BASE corporation (Appellee)                                      ~




              1o    2.     Jeffrey Vincent Brown (U.S. District Judge)
              11    3.     Brian Chancey, (pro se Appellant)

              12    4.     Carolyn Russell (Appellee’s counsel)
              13
                    5.     Ryan Swink (Appellee’s counsel)
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               Case: 23-40032      Document: 17        Page: 3        Date Filed: 04/19/2023




     1                                   TABLE OF AUTHORITIES                             .




     2
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     4
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    19
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           9CFR§‘1630.15Defenses                                                                          ..
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           9CFRAppCnd1X to Part             -Interp/‘eliveGuidanceon IItleIoftheADA                            4,13

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    24



    25
          I)   “What You Should Know About COVID-19 and the ADA, the Rehabilitation Act, and Othe

           E0 Laws Technical Assistance Questions ’and Answers”   -

                                                                      Updated on July I2, 2022.....            ..
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           ) “Pandemic Preparedness in the Workplace and the Americans with Disabilities Act
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          E1~:ocTcchnica1Guidance2oo9                                                                               6
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                                            Case: 23-40032        Document: 17         Page: 4    Date Filed: 04/19/2023



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                               APPELLANT’S REPLY TO APPELLEE’S RESPONSIVE APPEALS BRIEF
                     ‘




                                          Defendant/Appellee BASF, admits that its “Covid policy” is intended to prevent
                             the spread          of “Covid—19”, which it claims to be a “deadly contagious dis‘ease”.i                      The   .




                             policy begins with the premise that all employees are contagious threats, and the policy

        ,
                             seeks to          impose medical treatments, tests and inquiries upon all employees.                           The

                             documented fact that the            employer ‘seelgs to treat employees deinonstrates that the
                     I




                             employer, through the “Covid policy” perceives all employees as impaired—-the proof is
                             the policy and the demand for treatments itself.             There is no need for the court to look

                             further to find the basis         for Chancey’s claim that he is being perceived as impaired ‘by
            l
                         '




                             his emp1oyer’s policy. It is not a defense to the ADA for BASF to repeatedly deny that it

                             regarded Chalncey-as disabled,'it is also immaterial to hisiclaim. Chancey gave BASF
            ‘




                             written notices that he was being regarded as disabled (by
                                                                                                       the “Covid policy”, by BASF
        '




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            ‘

                             which adopted the “Covid policy”, by the CDC and government agencies, by his co-
            i




                             workers, etc.) and he asked his employer to step in and coirect this perception.                               The       .




T


                             proof of the perception is the policy measures (treatrnents, dates of compliance, written
                             communications about theipolicy, meetings, etc) which                    were   all geared toward having

                             Chancey comply             with   various   treatments,    tests   and    inquiries   which       create       new



                             conditions of employment that were all ‘implemented in order to “stop the spread of
                             COVID-19”. These facts are in the record and have been admitted by the defendant.

            A‘
                                          The employer purports to “stop the spread of COVID-19” without any diagnosis

                             of a medicalicondition; naturally without objective evidence of a contagious condition,

                             one   must conclude that the policy          frankly perceives all employees as impaired safety
                             threats in need of the            speciﬁc treatments outlined in the policy:           either the “Covid

                             vaccine” treatment or the mask) + “PCR test" treatment.                    The    employer uses vaccine

                     ,
                             status       tracking in order to monitor treatment. Any employee who refuses treatment is

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                          Case: 23-40032                  Document: 17                     Page: 5        Date Filed: 04/19/2023




            still considered to be                 a   direct threat‘,              The     policy handles “t1'eated” and “untreated”
            errlployees disparately based solely upon the perception that                                          an   “untreated”      employee
            remains        a   safety threat.:..           to       all the treated            employees, apparentlyz.                Chancey,       is

            classiﬁed as an “untreated” employee and this is the only reason he has had the terms

            and conditions of his                      employment diminish                    and has      experienced        interference with

    <


            claiming his rights.

                     BASF’s policy was not “uniformly enforced”; but instead, was disproportionately                                                       x       ,
‘




            applied to the group of “untreated” employees which BASF regarded as still impaired,

‘
            and as still being a direct threat to safety. This sub-group was still regarded as disabled

            with    having or potentially having                               a   deadly contagious disease                 because    they were
            classiﬁed as “untreated”.                    BASF imposed a secondary treatment on these                                   employees:
            mask + “PCR test”, and then these employees were considered as “treated”. However, a


                                              employees refused non-job-related treatments, Chancey is
        i



            sub-sub-group            of                                                                                                      in this

            group, and BASF continued to discriminate against this group of employees by
            regarding them as still impaired.

                     In addition,             these treatments are not in                    any way related to the employee’s ability                         -




            to perform any essential job functions; rather the treatments are imposed and monitored


            in order to manage the perceived threat.                                 The policy tells all          employees to report their
            “Covid—19 vaccine status”.                    Those who                present evidence of receiving this treatment                    are



                                                   impaired:
                                                                     '




            no   longer perceived as

                     BASF's admitted intent is to                              “prevent the spread of’ a disease.                    Chancey has

            alleged that BASF has no legal duty or legal authority to “prevent the spread of’ disease,
                                                                                                                                                               '




            and BASF has failed to                       provide any evidence that it acquired a new legal duty to


            s the employee is considered                                               a   direct threat of spreading contagious disease as long as they
                 remain "untreated”.
            2    It has   never   been   a   medical standard that       one   person must receive medical trearrnent in order for another person’s
                 medical treaunenr to be effective. This and-result of adopting such an illogical premise additionally destroys the right
                 to medical privacy.


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                              Case: 23-40032              Document: 17             Page: 6       Date Filed: 04/19/2023




                “prevent the spread” of a disease.’                  BASF does not        have either the state power reserved
                to the    legislature to conditionally require a speciﬁc vaccination nor does it have the

                agency mandate of the DOH, and it did not derive authority from OSHA.                                      Even in the

                instance of a pandemic, and                even      in the instance of a potentially            contagious disease,
                neither of these situations
                                                       vvould confer BASF with any               new   legal authority or new legal

                duty     to   impose non-job-related                medical        treatments,    tests    and   inquiries     upon     its

                employees. Given this lack of authority, the only way BASF can legally impose medical

                treatments,      tests    and     inquiries on        an   employee is by proving that each and                     every

                requested treatment, test and inquiry—satisfies the following conditions: either: 1) it is
        V




                “job-related” and necessary in order for Chancey to perform the essential functions of
            '




                his job“; or 2) BASF has determined through an individualized assessment that Chancey

                presents a direct threat] “safety threat” and BASF has determined that business necessity
        I



                requires the mitigation of an objectively established direct threats Absolutely none of
                these pre-conditions have been satisﬁed by BASF.                           BASF has not claimed a legitimate

                affirmative defense to violating the ADA.


                         It is not a defense to violations of the ADA to claim that BASF was                                 “following
i




                public health guidance” because: 1.) CDC guidance does not create a new legal duty for
                BASF to “stop the spread of COVID—19”; 2.) the DOH cannot extend any legal authority

                that exists within DOH mandate onto another entity like BASF 3.) the legal authority of

                the DOH mandate does not even allow the DOH to impose                                     universal treatments, test,

                and inquiries.         4.) under the ADA, an employer is only allowed to impose treatments,
                tests and      inquiries on a current employee which are related to helping that employee
                perform the essential ﬁinetions of his job, since Chancey is able to perform his job



                wd policy is illegal and lacks enforcement auzhoiily” for arguincm and citations Appcllanvs
                    Briorpages 25-23.
                4   And the employer revealed this before he signed his comracr.
                5   see seciion ll. A. ln    Appellanvs   Brier   Pages 23-25 discussing *‘non-job-related" and “disability-related" medical
                    irearrnenls, res: and inquiries.

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                                                              Case: 23-40032              Document: 17 »
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                                                  without the       polfcy measures, the policy                        measures          are     not   “job-related” and thus are
                                                                                                                                                                                                              ‘




                                                  outside BASF’s purview to impose.

F   F
                                                           Chancey showed in his opening brief that Judge Brown was perfectly aware of the

I                        '




                                                  concept of        empldyment iegulations needing to be tied to the parameters of the‘
                                                                                                                                                                                                                          i




                                                  workplace when he issued the ruling in,Georgz'a v Biden.                                             The same        concepts apply
        —                                         under the ADA under                the prohibition against non-job-related tests, treatments and
                                                  inquiries.     In general, Chancey’s current and pre-policy performance of his job                                             proves
        ‘




                                                  performance of his essential job functions.“

                                                           Furthermore, the policy, by its very existence and stated purpose is certainly a
                                                                                                                                                                                              /




                                                                                                                                                  is intended to determine who
                                              '




                                  V
                                                  disability-related inquiry.           The f‘vaccine status” inquiry

                                      .
                                                  has received “Covid—19 vaccine” treatment for the perceived irnpaifment and who has
                             /

        ~_]                                       not;‘ and an untreated employee is perceived as still impaired.                                            It should also be noted
        '


                                                  that there      are    effectively     two     categories:                “non—j0b-related” and “disability—re1ated”
        .2                                        treatments, test and inquiries. Signiﬁcantly, Chancey has claimed that BASF is violating

                                                          categories, however BASi? and Judge Brown have only focused on _“disability-
        I




                                                  ‘both
         ‘I
                                                  related” and have ignored the               “non-job—‘related” category all together. “Even if theré is                                                 \




                 .               _
                                                  no   discriminatory intent, an employer may not use a job requirement that... has no
            E                                     relationlto measuringperformance of job duties. Testing or measuring procedures cannot

,




            I»
                                                  be determinative in         employment decisions unless’ they-have                                some
                                                                                                                                                             connection to the job.”                                          .




            '
                  _
                                                  Griggs v. Duke Power Co., {£01 U.S. 424 (1971). BASF cannot impose a new condition

         1                                        of employment         oniChancey that is unrelated to the performance of his job duties.                                                                        ‘




                                                   y
                                                           Inaddition, Congress emphasized in its Interpretive Guidance to the 2008 ADA
                                                  Amendments Act that an employee actually does not                                         iieed to be disabled to qualify for
                                                  the protection of the ADA—AA:                                V


                                                                                                                   ’                                     '




‘           ‘                                                                                                                                ‘




                                                  ob performance may surﬁce to crease                                              a   dispute or maxgriai fact over what consmmes an             y



                                                       "essemiaI function." From Fromm v. Mu/M, rm, 371 F. App'x 263, 269 (3d Cir. 2010) and citing skerski v. Time
                                                       ivamer Cable Co., 257 i-‘.3d 273 (ad Cir. 2001)."
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                                             Case: 23-40032            Document: 17             Page: 8          Date Filed: 04/19/2023




                                                           “It is settled law that any employee may bring a claim of
                                                                                                                                                    I




                                                   improper disabi1ity—re1ated inquiries or medical examinations,                           A




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                        .
                                                   improper disclosure of confidential medical information, or
                                                   retaliation not just individuals with disabilities. See, e.g.,
                _



                                                   Cassette v. Minnesota Power & Light, 188 F.3d 964, 969-70
                                                                                                                                                        '




                                                   (8th Cir. 1999); Fredenburg v. Contra Costa County Dep’t of                                      i




                                                   Health Servs., 172 F.3d 1176, 1182 (9th Cir. 1999); Griffin v.
                                                                                                        7
                                                   Steeltek, Inc., 160 F.3d 591, 594 (10th Cir. 1998).”

                                         BASF appears to be attempting a new defense to the‘ADA in it’s Response Brief,

                                claiming that Chancey can only‘bc regarded as disabled individually andithat a policy
                                that is applied to everyone cannot             regard him individually. Asishown above, the policy
            i




                                focuses discrimination and adverse actions on the “untreated” employees, such that the

                                policy is       not     truly applied universally.          However,      not        only does   the definition of              _




                                disparate impact apply to both individuals and a class of individuals, the disparate
«
                                impact defense clearly establishes that the disparate treatment must be job—related and
                                consistent with business necessity in order to qualify as a proper defense to the ADA.
                                                                                                                                        '
                                                                                                                 ‘




                                        29 cFR§ 1630.15 Defenses.                                            .




                    1




                                        (c) It maybe a defense to a charge of discrimination brought under this part
                                        that a uniformly applied standard, criterion, or policy has a disparate impact
                                        on an individual with a disability or a class of individuals with disabilities that

                                        the challenged standard, criterion or policy has been shown to be job-related
                                        and consistent with business necessity, and such performance cannot be

                                        accomplished with reasonable accommodation, as required in this part.
    ‘




                                        (emphasis added)                                                                            -
                                                                                                                                                                    '




                                         BASE remains unable to show that the new qualiﬁcation standard (“untreated”                                            «




                                employees are perceived as direct threats)" is objectively true because it never performed
                                                                                                                         '
                                                                                                                                                            I
                                an   individualized assessment, nor can it show that the treatment, test or inquiry is job-

                        -



                                related and consistent with business necessity.“                   Direct threat is an evidentiary standard,


                                7    See page 1, “Introduction” to 29 CFR Appendix In Part 1630 -Interpretive Guidance an Title I afthe Americans Mth
                                     Disabilities Ac!
                                8    Aside from the treannents described in the policy, the policy fails to_include any mechanism by which the results of
                                     following the policy can be measured, tested or documented to determine whether or not BASF’s policy would allow it
                            .
                                     to establish proximate cause for any employee becoming infected, and whether or not BASF’s policy was successful at

                                     preventing siich a disease.
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                                 Case: 23-40032             Document: 17                Page: 9        Date Filed: 04/19/2023




                    it is not a hypothetical standard, an objective assessment is required. The defendant has

                    not met the burden             to   claim “business           necessity”      as   discussed in EEOC         employer

                    guidance which clearly shows that the business necessity standard requires proof of a
‘




                    medical condition that meets the                     “direct threat” standard and it must also be “job-
                    related”:

                            “...once an employee begins work, any disability-related inquiries or medical
                .           exams must       be "job-related and consistent with business necessity." One way

‘
                            inquiries and medical examinations meet this “business necessity” standard is
.                           if they are necessary to determine whether a speciﬁc employee has a medical
                            condition that would pose a “direct threat” to health or safety...” (“Disability-
                            related Inquiries and Medical Exams ", lntroducti0n)°


                              Judge Brown and BASF both mischaracterize Chancey’s claim in order to dismiss
    t               it.     Judge    Brown stated that               Chancey claimed BASF believed he                   “had    a   case   of
        '




                    transitory Covid”;           and    Judge Brown stated that BASF’s perception of Chancey’s
                    impairment might be transitory too (and did not discuss minor). Now, in the Response
                    Brieﬁ BASF is claiming that Chancey claimed that BASF regards him as having a ease

                    of “future Covid” and argues that Chancey can’t claim he qualiﬁes for the protection of                                       ‘




                    the ADA based on his employer regarding him as possibly developing an                                  impairment in
                    the future. These are all distortions of Chaneey_’s claim designed to escape liability.
                                                                                                                                                      .




                              Chancey’s complaint and affidavit give avdate on which his employer instantly
                    considered him too impaired to work without receiving treatment, it was July 30, 2021                                     .




            ,
                    On that date he was informed by his                        employer via the “BASF Freeport Update #62

p
                    Coronavirusl9” email sent to everyone in the company, that he was expected to wear a

                    mask at work, to give his current temperature to the guard at the entry gate for the guard

                    to interpret, to stay 6-feet away from other workers and if he did not comply with these


                    (non-job-related) medical treatments, tests and inquiries he would be written up for a
    ‘




                    Abou: cov1D—19 and me ‘ADA, me Rehabiiiumon Act, and other use Laws reclmical
                          Assrsranee Quantum andAmwer.c    "
                                                               —


                                                                   updated on July I2, 2022. hups://www.eeoc.gov/wysk/what-you-ghou1d-know-
                          aboun-covid-19-and-ada-rehabiiitazion-ac:-and-other-eeo-laws


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                                   Case: 23-40032      Document: 17          Page: 10         Date Filed: 04/19/2023




                         safety violation which     could lead to termination.            Chancey has alleged numerous

                         examples of his employer     communicating      concrete      and     date-speciﬁc perceptions that
                         Chancey needs treatment.      It is   clearly irrelevant to BASF’s “Covid policy” whether
                                                                                                                                                     I




                         Chancey “actually” has any syinptoms or a doctor’s diagnosis, it will continue to regard

                 _
                         him as    impaired as long as he remains “untreated” for the perceived disability.                      The

             .
                         policy is not rational, it is based upon the implausible and irrational belief that every

                         employee suddenly became impaired and in need of treatinent.                                                        :
                                                                                                                                         '




                               Judge ‘Brown and BASF both mischaracterize Chancey’s claim by trying to argue
                         that Chancey has made his claim under the “actual” prong of disability.                       Then Brown
         i




                         and BASF make irrrelevant arguments about duration or severity some fictitious case of

                                                                                                                                                 '
                         “future COVID” and      “transitory COVID”.          Chancey’s case is proceeding under the

                         “regarded as” and “record of’ prongs, not the “actual” prong.                   The “regarded as” prong
                     I




                         does not look at the severity or duration of any actual impairment, it looks at the adverse

                         actions   which demonstrate the perception” of      an   impairment. Thus, the Judge has failed
                         to correctly look at the facts which show that Chancey has been perceived as impaired‘


                         since July 30, 2021 and has had the conditions and terms of his employment adversely
I    p




I‘   i




                         affected because he is perceived as impaired.


                               Chancey is not   prlecluded from invoking       his rights under the ADA simply because

                         BASF denies     Chancey is being perceived as disabled, particularly because he gave
                         BASF written notice of the same. Chancey may also be regarded as having a disability

                         by other parties and entities besides his employer and the Covid policy, such as the

                         government, co-workers, friends and family, and .he is not ‘required to identify who

                         speciﬁcally regards him as having a disability, nor is he required to discuss the nature of
                         the disability he is regarded as having, especially when it is not related to his essential

                         job function and when he is not requesting any accommodations.                            He is   required to


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                         onsr:ared by me uemmems,                      rest and inquiries iiiemseives.




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                                Case: 23-40032               Document: 17              Page: 11         Date Filed:
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                    allege the pleading requirements sufficiently."                             He has     donellvso       and           Judge Brown
                                                                                                                                                                     '




                    ignored Chancey’s properly alleged plea and ignored the rules of construction.

                              BASF argued that the tests, treatrnents and                       inquiries were not disability-related
                    but does not give any evidence to support the statement and                                       ducted EEOC employer
                                                                                                                                                                 i




                    guidance which has been revised to what is quoted above, however BASF was aware of
                    -the 2009      source     document called Pandemic Preparedness in the                                Workplace and the
                    Americans with Disabilities Act EEOC Technical                              Guidance, ‘because Stephen Caﬁero

                                                                                                                      dhancey
i




                    referred to this document in his September 8, 2021 email to                                                     as   the basis for

                    BASF refusing to rely on an individualized assessment before‘
        V
                                                                                                                       proceeding to consider
                    Chancey a direct threat. However, Caﬁero mischaracterized the-I guidance, which simply
                    stated that       an    employee who has actually been diagnosed with COVID—19 may be

                ‘
                    considered a direct threat, it did not say undiagnosed           e1nplo'yees may also be considered
y
                    direct threats.        [Dkt 6] p. 68       BASF admits that the purpose of ihe policy is to “stop the

                    spread of COVID-19”, all measures -were therefore designed. to “inquire”,                                                 ~“test”   or


                    “treat” this speciﬁc communicable disease and no other. Any employee who failed to


            V
                    pass the      screening survey test or the temperature check was not allowed to enter the

                    workplace and was put on an unpaid quarantine. While having a temperature of 100.1
                    does not qualify as an actual diagnosis of “COVID-19”, neverthelessfsuch an employee

                    would be refused admittance to the                      workplace.          This demonstrates that this medical

                    examination         was     disability-related, meaning               it   was   designed to reveal                   a   perceived

                    disability as shown by the adverse action taken.                           The ADA    definition of medical     a             exam


‘                         “
                    is:       A "medical examination" is               a
                                                                           procedure or test that seeks information about an
                    individual’s physical or mental impairments or health?"                             Asking survey questions about
                                                                                                              '



                                                                                                                  I

                    u1e ADA; (rixc ct I11 4); 2) he                                                          disability wimin the meaning or the
                                                                                       was an individual with a

                    ADA (FAc—I mi 7-12, 21, 22, 24, 29); 3) qualiﬁed to pcrronn lliepsseniial functions
                                                                                                          of his job (PAC, cl I 1111 3, ll, 38); 4)
                                  adverse employment actions because or disability (1=Ac, ct 1 ml 25-33, 36, CT I1 1111 6, 8, ll-l3, ls, 19, 23, 25-         i




                    ;o
                    12    Pmidemic Preparedness in me workplace and the Americmn with Disabilities        Acifeeoc Technical Guidance. section
i                         A.1 Deﬁnitions. hltps://www.eeec.gnv/laws/guidance/pendemie-preparedness-woikplaee—and-anienicans—disahilities-act
    t
                                                                                                                                .



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                               Case: 23-40032              Document: 17              Page: 12       Date Filed: 04/19/2023




                    “Covid symptoms” and “Covid contact” is                      designed to elicit       answers     about Covid. Just

                    like questions about AIDS symptoms and AIDS contacts are designed to elicit answers

                    about AIDS.          These    are   considered       disability-related questions, and in this case they
                    related to       a   perceived disability because the employer does                         not possess          objective
    ‘

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                    evidence that the employee has the disease prior to asking such speciﬁc questions.”
                                                                                                                                                        i




                            BASF limits both “untreated”                  employees,       and    employees suspected             of having
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                    _COVID-19, access to work, this supports Chancey’s allegation that BASF perceives
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                    these employees as too impaired to work unless they are “treated” per the policy.                                        Any
                                                                                                                                         _




                    employee who was not treated by the                    “Covid vaccine” would not be allowed to attend

                    off—site company social events and was generally not allowed to travel on business trips.                                       '




                                                                                                                                                                    '




                    The company           imposed a mask—wearing treatment for all employees ind_oors on the

                    asumption that all employees were impaired with a communicable disease on July 30,
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    l
                    2021 as a condition for access to the Work-place. [Dkt 6] p. 32-3.


                            BASF stated that refusing the mask-wearing treatment would result in progressive

                    discipline which demonstrates that untreated employees were perceived as impaired and
                i                                                                                                                                               A




                    in need of discipline to make them take treatment.                           [Dkt 6]     p. 35        In fact,   Chancey>
                    received     a   written warning on August 12, 2021 for this very reason.'[Dkt 6] p. 37.                                                x




                    Chancey asked the company to provide him with the medical assessment determining he
                    needed treatment, the risk/beneﬁt analysis he was entitled to for informed consent, asked

        '
                    the company what legal duty and insurance coverage it had for implementing masks or

                    controlling a pathogen widely known in the community, he asked why the BASF policy
1                   couldn’t just allow masks              for the workers who wanted to wear them,                          and he let the



                     13 “During employment: The ADA employee disability-related inquiries or medical examinations unless they are
                    job-related and consistent with business necessity. Generally, a disability-related inquiry or medical examination of an
                    employee is job-related and consistent with business necessity when an employer has a reasonable belief, based on objective
                    evidence, that: 1. An employee’s ability to perform essential job functions will be impaired by a medical condition; or 2. An
‘


                    employee will pose a direct threat due to a medical condition. This reasonable belief "must be based on objective evidence
                    obtained, or reasonably available to the employer, prior to making a disability-related inquiry or requiring a medical
,       .
                    examination." Pandemic Preparedness in the Workplace and the Americans with Disabilities Act, EEOC Technical
    .               Guidance. (ibid)       '




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                                                                                 9                                    .
                       Case: 23-40032            Document: 17            Page: 13         Date Filed: 04/19/2023




            company know that he would work                    remotely, outdoors and‘6-feet away from others
            while he awaited the answers to these questions.                       [Dkt 6] p. 39.       On August       13, 2021,

            Chancey agein asked for the risl</beneﬁt analysis necessary to give informed consent to
            the mask treatment for SARS COV-2 and he did not receive                                a   reply. [Dkt 6] p. 43.

            Chancey has ﬁled affidavit testimony stating that no health officer has identiﬁed him as

            having a communicable disease, nor has any physician ﬁled an affidavit stating that he                                                 >




            has a communicable disease, nor has any court issued any order declaring him a direct

            threat.   [Dkt 6] p.2l—2.        In October, 2021, Chancey asked his employer to “cease and

            desist” from communications asking him to register his “Covid vaccine status” on the

            “Vax-Up” online portal BASF used to track which employees were “treated” by “Covid
            vaccines” and which           were     not.      Chancey asked for the communications to cease
            because they asked for “private medical information and                          [have] no relevance to [his]

            ability to perform [his] job.” [Dkt 6] p.79. The communications Chancey referred to are

            properly seen as disability-related, since employees “untreated” by “covid vaccines”
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            were told to wear masks and were               not allowed to attend company social events and                        their_
            business travel      was     curtailed because they                 had not received this treatment              (for      a



        ,   perceived impairrnent).           BASF claimed the OSHA ETS                     provided the necessary legal
            authorization for requiring proof of “Covid vaccination”                         or    imposing weekly “Covid

            testing” of employees.          [Dkt 6] p. 81; which Chancey’s alleges ar/e                      new    qualiﬁcation
            standards    based      upon     non—job-related         and        disability-related treatments, tests, and

            inquiries. Chancey sent Stephen Caﬁero a statement from 24 attorney generals around

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            the US     stating that the “COVID—l9 virus” does not qualify as an OSHA recognized

‘
            “workplace hazard”.“ [Dkt 6] p. 98-9.                           »




                      On November        22, 2021, BASF stated that “vaccinated” employees would no                                            ]




            longer need to wear- masks as of December 5, 2021 and on January 4, 2022., BASF
    ‘




            e also requires                             an objecnvc assessment prior to declaring a workpiece hazard, arid therefore


               empioyers could noijustiry mitigation measures under osHA 1970 guidance; the court later stayed the osHA ETS as
               unenforceable, but i3Asi= continued to enforce the rnensures despite the lack or authority.                                 ,




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                     would impose weekly “Covid testing” (a non—job-related and disability-related medical

                     examination) on all “unvaccinatcd” employees which also demonstrates that BASF is
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                     classifying employees by‘ medical treatments which is making a record of perceived
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                     ‘disability. [Dkt 6]        p.      100.     Next, BASF tells “vaccinated” employees                        to   wear      an
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                     identifying’ sticker, while telling “unvaccinated” employees to pay for their own weekly
.
        =            tests after 60       days and that failing to test will lead to termination. [Dkt 6] p.104.‘                           Once

                     eiitensive weekly testing was imple1nente'd‘5, BASF conflated postive “tests” as positive
                     “cases” and “decided to retum to code red” measures from January 3-14, 5022.
                 '




                                                                                                                                        [Dkt 6]

                     p.   110.    This supports that the             “tesls_” are disability-related even when they do not

                     qualify     as   a   proper      diagnosis,     as   more     restrictive conditions of            employment were

                     -implemented based upon “testing” and 5-day isolation and 10-day quarantine                                      measures


                     went into effect as well as                increased.masking, and virtual meetings.                 The deﬁnition of

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                     being “fully vaccinated” was changed to include needing a “booster” shot as well. [Dkt

                     6] p. 110-12.         BASF policy states that it will label both a “positive test” result                          and an
                                                                                                                                                            I




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                     actual “diagnosis of COVID-19 by a licensed healthcare practitioner” equally as a “case                                                    '




                     of COVID-19” and will remove the employee from the workplace for quarantine.                                           [Dkt                ‘




                     6] p. 129. A new “code red” standarddeveloped after weekly testing    implemented                   was


                     which resulted in masks being required forlall employees while in the workplace---
                                                                                                                                                                            '




                     which is directly based on BA'SF’s increased use of disability-related medical exams.
                 ‘




                     [Dkt 6] p. 133.                                                                                                            g




                                                                                                                                        ’




                             Adverse employment actions under the ADA include materially adverse changes                                                            _




    I                in the terms and conditions of employment as well                           as‘ interference with the employee
    ,
                     claiming      his    rights protected by             the ADA.        “An    adverse      employment action is                  a



            .‘       materially adverse change in the terms and conditions of employment”; Jones v. Se. Pa.

1                    Tramp. Am‘h., 796 F.3d 323, 326 (3d Cir. 2015). “[A]n adverse employment action*[is]
                                                                                                                                                                        V




                     ed screening tests rather than diagnostic tests which provide ‘a diagnosis, this is listed                             on the


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                     boxes and on the package inserts.   Thus an actions taken are based on perceived impairment not at coniirrned diagnosis.

                                                                                   11
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                                 Date Filed: 04/19/2023              Page: 14           Document: 17           Case: 23-40032
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                        an   action by     an   employer that is serious and tangible enough to alter an employee's

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                        compensation, terms, conditions, or privileges of emp1oyment.”; Thompson v. City of
                        Waco, 764 F.3d 500, 503 (5th Cir. 2014).
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                                 BASF      imposed      new     qualiﬁcation      standards    ‘on   Chancey       for    continued
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                        employment that are disability-related, are not job-related, and which he never agreed to.
                        BASF diminished Chancey’s             job security and has threatened him with discipline, false
                        “job   abandonment”         records, and dismissal several times based on deadlines due to

                        perceived disability and his on-going opposition to an illegal policy as discussed in the
                        record.        BASF has diminished       Chancey’s medical privacy as the terms now include
                                                  medical   information                vaccine”
                        revealing private                                   (“Covid                  status), disability-related
                        medical        exams    (temperature)   and   “self—diagnosis”   of test results    (“Covid testing”),

                        wearing face masks, quarantine based upon self-diagnosis,                    inter alia.         BASF has

                        changed the terms of discipline in his job to include punishment based upon new

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                        qualiﬁcation standards based upon prohibited disability-related,                  and   non      job-related
            I




                        treatments, tests, and inquiries.        BASF has diminshed work-related travel to
                                                                                                                         employees
    -
                        who meet the new qualiﬁcation standard.                BASF has       changed the terms of employee
                        access    to   the -work-site. BASF has imposed new weekly employee expenses for testing
                        on   all -“uvaccinated”       employees.      BASF has interferred with          Cl1an‘cey’s rights by
    _




                        imposing non—job-related and disability-related treatments, tests and inquiries as a new
                        condition of employment.            BASF has refused to recognize Chancey’s rights to refuse

                        experimental medical tretaments that are issued under Emergency Use Authorization
                                                                                                                                       I




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                        guidelines which include the right to refuse and the right to informed consent.                      BASF

    .                   has interferred with Chancey’s property rights.


                                         BASF admits many
                                                                   times throughout the record, that the penalties or
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                        adverse employment actions imposed upon plaintiff were causally related to Chancey’s

                        good faith refusal to participate in the policy, a right squarely rooted in 29 CFR Part

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                                  Date Filed: 04/19/2023         Page: 15         Document: 17       Case: 23-40032
                                                     Case: 23-40032         Document: 17                 Page: 16     Date Filed: 04/19/2023



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                     ‘
                                         1630.9(d).     BASF even admits being advised of this provision while admitting that it

                                         refuse‘d to    provide Chancey         with    informed consent             or   conduct any individualized

                     ,
                                         assessment to     determine if he         was, a         direct threat.      BASF’s “Covid          policy”     itself
                                                                                                                                                                    i




                                         establishes the timeline and causal relationship between the medical treatments sought to
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    it
                                         be imposed upon Chancey, and the consequences for                          refusingito submit to them. This
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                                         includes      communications       establishing‘ deadlines for compliance with requests for
                                         medical records, tests, treatments and inquiries, dates Chancey was                          removed from the
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                                         workplace, various disciplinary letters and write-ups, and multiple requests Chancey
t
                 _
                                         received for non—j ob-related and disability-related medical tests, treatments and inquiries

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                                         which are all    sufficiently alleged in the amended complaint, affidavit and exhibits.
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                                     ,
                                                 Itis not a legal defense, when Chancey alleges that the policy in question has,
                         ‘




                                         inherent ADA violations, for BAVSF to claim that it has right to ﬁre Chancey because
                                                                                                                                                               he
                                         refused to comply with the policy.             However, this is the defense that BASF attempted,                                       _




                                         and instead of analyzing whether or not the BASF expressecl any cognizable defenses

                                         under the ADA, the trial court allowed BASF to make false conclusions based upon its

                                         own revision of the     pleading. BASF h‘as not made any legitimate or appropriate defense
                                         under the ADA.        Not    once    did BASF attempt to              cure    its   policy by bringing it into

                                         eonfomiity with the law, not once did BASF express any defense such that it conducted
             g
                                         any individualized assessment and              thereby determined that the plaintiff was a direct

                                         threat, nor did it show it would suffer any undue ﬁnancial burden for the plaintiff’s good
                                         faith objection and refusal to participate in BASF ’s                irrational and discriminatory “Covid
                                         policy”.”’,   Not once did BASF allege any set of facts that would have                          established, that
                                                                                                                                                                        l




                                         16 “During employmcnt:The ADA employee disability-related inquiries or medical examinations unless they are
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                                     jorneraxed and consistent with business mt-essicy.' Generally, a disabirityqerated inquiry or medical examination of an
                                     employee isjob-related and consistent with business necessity when an employer has a reasonable belief, based on objective             _




                             _
                                     evidence, that: l.An employee’s ability to perform essential job functions will be impaired by a medical condition; or 2. An
                                     employee will pose a direct threat due to a medical condition. This reasonable belief "must be based on objective evidence
         '
                                      obtained, or reasonably available to the employer, prior to making a disability-related inquiry or requiring a medical
                                      examination.” Pandemic Preparedness in the Workplace and the Americans with Disabilities Act, EEOC Technical-
                                 ’


                                         Guidance.

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                                      Case: 23-40032                    Document: 17               Page: 17          Date Filed: 04/19/2023



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                            the “Covid policy” was implemented in order to fulﬁll any business                                            necessity,      or   thai
I                   ‘
                            plaintiff’s refusal to panicipate would fundamentally alter BASF's normal operations.
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                                    The use of the term “plausible” to argue that Chancey did not state a “plausible”
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                            claim in his           amended          complaint”        is    employed          for the purpose of              increasing          the

                            jurisdictional threshold beyond that which Congress intended with its 2008 amendment
                            to the Americans with                Disabilities Act. _Judge Brown erred by ignoring a Congressional
,
                            mandate to determine the employer’s compliance rather than on disqualifying employees
                                                                                                                                                                            _




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                                                                                                     ‘                                                                          '




                            from coverage.                                                                                                                              .




i                                   Congress stated in 2008 -that the main focus of the courts should be whether the

                            employer is satisfying its obligations under the ADA. '“...[I]t is the intent of Congress
                                                                                                                                                                                        l




                            that the primary object of attention in cases brought under the ADA should be whether
‘




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                            entities covered under the ADA have complied with their obligations, and to convey that

                            the question of whether an indiVidual’s impaimient is a disability under the ADA should

                            not demand extensive analysis”.



                                    BASF failed to present a proper defense, and Judge Brown refused to note that
                             p




                                                                                                                                                                                            ‘
                            BASF failed to            plead a proper defense.                     Instead, Judge Brown mischaracterizes the

                            readily apparent fact that the policy is premised on regarding all employees as impaired
                l




                            and in need of medical treatment in order to work as “impla1'1sible” which effectively
                                                                                                                                                                                    '




                            applies a new standard of pleading requirements that exceeds the                                     Congressional intent              as


                            previously explained. The standards in Bell v. Twombly and Ashcroft v. Iqbal cannot be

                            applied without consideration of Congressional intent for the ADA, especially since

                            Congress         had     to   amend          the    law    in    2008        because       courts      made       decisions        that
            l




                            countermanded the original intent of Congress and the law. It appears we are here once                                                                              ,




                            again, where the federal court is attempting to create a higher threshold by its use of the

                            legal fiction known as “implausible”. The use of this term is intended to create a higher
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                            nsiders an employees                                      as direct   threats, men this is tttodirted to classifying an "untreated"
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                                 employees   as direct threats   and thus disabled.



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                  Case: 23-40032   \
                                           Document: 17         Page: 18    Date Filed: 04/19/2023


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        threslmld for those seeking relief and protection under the ADA than was intended by

        Congress.         Not only is the couit participating in the same illegal policies as BASF, it is

        also   denying Chancey accesslto the court and the law and justice.                      This is the   same



        despicable conduct delnonstrated by the court in Tennessee v. La_ne,                        541    U.S. 509
                                                           ’

        (2004).                                                                          ~




        CONCLUSION: For the reasons herein the judge’s decision constitutes                           an   abuse of

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        discretion,       failed to apply the law correctly, is clearly erroneous and should be reversed                          I




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        in the interests ofjustice.


                WHEREFORE the appellant requests an order reversing the trial court’s decision                                        -




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t
        and rernanding it to trial court for further proceedings.
                      I                                                         .




        DATED this         J3 day ofApri1      ,
                                                   2023.                                                              .




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                                       -
                                                                                    Brian Chancey, Appellant




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                    Case: 23-40032       Document: 17       Page: 19   Date Filed: 04/19/2023




                                         CERTIFICATE OF COMPLIANCE


‘

                  I, Brian Chancey, do certify the following:
                                                                 *



                                                                                                    /
              ,
                                                                                                              ‘
                                                                                                                  _




                  1. This   documeﬁt complies with FRAP 32(a)(7)(B) because, excluding part_s of the
                  document exempted by FRAP 32(f) this document contains 4425 words.




                  2. This document complies with FRAP 32 (a)(5) and (6) because this document

                  has been prepared using Times New Roman font in 14-point.




                  BN2;
                                                                                                '




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          "




                                            CERTIFICATE OF SERVICE
                                                                                                          '

                  I, Brian Chancey, hereby certify that a true and correct copy of the foregoing was

        duly served upon the defendant’s attorneys Carolyn Russell and Ryan Swink both at the
        address of One Allen Center, 500 Dallas Street, Suite 3000; Houston, Texas 77002 via

        first class mail on this        day ofApn'l 2023.
_




                  I further certify that four true and correct copies of the foregoing were duly served


        upon the Fifth Circuit Court of Appeals at the address of 600 S. Maestri Place, Suite

        115; New Orleans, LA 70130-3408 via first class mail on this L9; day ofApril, 2023.

        By:       Vat                         —




                             v                          16
